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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.      2:21-cv-06910-AB-SHK                                Date: October 8, 2021
 Title: Dejon Xarvia Canada v. Brian Kibler



Present: The Honorable Shashi H. Kewalramani, United States Magistrate Judge

               D. Castellanos                                      Not Reported
               Deputy Clerk                                        Court Reporter

    Attorney(s) Present for Plaintiff(s):               Attorney(s) Present for Defendant(s):
               None Present                                         None Present

Proceedings (IN CHAMBERS): Order to Show Cause Re Filing of Notice of Appearance

       On August 25, 2021, Petitioner Dejon Xarvia Canada (“Petitioner”) filed a Petition for
Writ of Habeas Corpus by a Person in State Custody under 28 U.S.C. § 2254. Electronic Case
Filing Number (“ECF No.”) 1, Petition. On September 13, 2021, the Court issued an Order
Requiring Response to Petition. ECF No. 4, Order. In that Order, the Court required
Respondent Brian Kibler (“Respondent”) to file and serve a notice of appearance, designating the
Deputy Attorney General(s) in charge of the case, within fourteen (14) days of the service date of
the Court’s Order.

        As of October 8, 2021, Respondent has not filed a Notice of Appearance. Accordingly,
within fourteen (14) days of the date of this Order, that is, by October 22, 2021, Respondent is
ORDERED TO SHOW CAUSE, in writing, as to why Respondent has failed to comply with a
court order. If by October 22, 2021, Respondent files a Notice of Appearance, this Order to
Show Cause will be automatically discharged, and Respondent need not respond to it separately.

        IT IS SO ORDERED.




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